Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10   Desc
             Exhibit Exhibit A to Notice of Removal Page 1 of 18




                     Exhibit “A”
             Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10                                                                Desc
                          Exhibit Exhibit A to Notice of Removal Page 2 of 18
             Court of Common Pleas of Philadelphia County
                           Trial Division
                         Civil Cover Sheet
: PLAINTIFF'S NAME                                                                    DEFENDANT'S NAME
I    DAVID _A .. EISENBERG                                                              LEISAWITZ HELLER ABRAMOWITCH PHILLIPS PC

    PLAINTIFFS ADDRESS                                                            ' DEFENDANT'S ADDRESS
i 4167 WINCHESTER RD.


!
     ALLENTOWN PA 18104


    PLAiNTIFF'S NAME
                                                             -----__ l            '



                                                                                  i
                                                                                        2755 CENTURY BLVD.

                                                                                        WYOMISSING PA 19610 _ _ _ _ _ _ _ _ _ _ _ _ _ ____,
                                                                                      DEFENDANT'S NAME
                                                                                  !     CHARLES J .. PHILLIPS ESQ

'--------------~------                       ------------·----------------+--
: PLAINTIFF'S ADDRESS                                                                 DEFENDANT'S ADDRESS
!
                                                                                        2755 CENTURY BLVD.
                                                                                        WYOMISSING PA 19610

1------
1   PLAINTIFF'S NAME                                                         ----tI
                                                                                      DEFENDANT'S NAME
                                                                                        R. BUCHER. EDEN ESQ

i------------
    PLAINTIFF'S ADDRESS                                                               DEFENDANT'S ADDRESS
                                                                                        2755 CENTURY BLVD.
                                                                                        WYOMISSING PA 19610


I TOTAL NUMBER OF PLAINTIFFS              TOTAL NUMBER OF DEFENDANTS       COMMENCEMENT OF ACTION
                                                                            CXJ   Complaint              D   Petition Action               D     Notice of Appeal
                     1                                   3
                                                                            D     Writ ofSwnmons         D   Transfer From Other Jurisdictions
    AMOUNT IN CONTROVERSY         I COURT PROGRAMS
                                  '. D    Arbitration             D    Mass Tort                         D   Commerce                     D      Settlement
    D     $50.000.00 or less      I Iii   Jury                    D    Savings Action                    D   Minor Court Appeal           D      Minors
    Iii   More than $50,000.00    ID      Non-Jury                D    Petition                          D   Statutory Appeals            D      W/D/Survival
                                  1
                                      0   Other:
I   CASE TYPE AND CODE
                                  I




      4L - MALPRACTICE - LEGAL

    STATUTORY BASIS FOR CAUSE OF ACTION




    RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)
                                                                                      RLED                                     IS CASE SUBJECT TO
                                                                                                                               COORDINATION ORDER?
                                                                            PROPROlHY                                     I
                                                                                                                          .                YES         NO


                                                                         NOV 20 2017
                                                                             M.BRYANT
. TO THE PROTHONOTARY:
    Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: DAVID A. EISENBERG
I Papers may be served at the address set forth below.
1




    NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATIORNEY                             ADDRESS
                                                                                       ONE LIBERTY PLACE 52ND                       FLOOR

    PHONE NUMBER

      (215) 496-8282


     36283

    SIGNATURE OF FILING ATIORNEY OR PARTY
     ROBERT MONGELUZZI
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
             Exhibit Exhibit A to Notice of Removal Page 3 of 18




                                                         Filed and Attested by the
                                                        Office of Judicial Records
                                                            20 NOV 2017 01:06 pm
                                                                 M. BRYANT




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
             Exhibit Exhibit A to Notice of Removal Page 4 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
             Exhibit Exhibit A to Notice of Removal Page 5 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
             Exhibit Exhibit A to Notice of Removal Page 6 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
             Exhibit Exhibit A to Notice of Removal Page 7 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
             Exhibit Exhibit A to Notice of Removal Page 8 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
             Exhibit Exhibit A to Notice of Removal Page 9 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 10 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 11 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 12 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 13 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 14 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 15 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 16 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 17 of 18




                                                                     Case ID: 171102001
Case 17-00372-jkf Doc 1-2 Filed 12/18/17 Entered 12/18/17 19:03:10    Desc
            Exhibit Exhibit A to Notice of Removal Page 18 of 18




                                                                     Case ID: 171102001
